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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO


MARCELLA COOLIDGE, individually; and
GABRIELLE VALDEZ, as Personal Representative
of the Estate of DEREK A. HARRISON, deceased,

       Plaintiffs,

v.                                                        Case No. 1:21-CV-307 SCY/KRS

THE UNITED STATES OF AMERICA,

       Defendant.

 ORDER GRANTING SECOND JOINT MOTION TO EXTEND THE DEADLINE FOR
        FILING MOTIONS TO COMPEL UNDER D.N.M.L.R.- Civ. 26.6

       This matter came before the Court upon the Second Joint Motion to Extend the Deadline

for Filing Motions to Compel Under D.N.M.LR-Civ. 26.6 [Doc. 27].

       The Court having reviewed the Motion, there being no opposition thereto, and finding the

motion is well-taken, the Motion is hereby GRANTED.

       IT IS HEREBY ORDERED that Plaintiffs are allowed up to and including January 7,

2022 to file any motions to compel related to Defendant’s answers and responses to Plaintiff

Gabrielle Valdez’s First Set of Interrogatories and Requests for Production to Defendant United

States of America.




                                                   Kevin R. Sweazea
                                                   United States Magistrate Judge
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